Case 9:16-cv-81871-KAM Document 522-5 Entered on FLSD Docket 08/22/2019 Page 1 of 6




                       EXHIBIT E
  Case 9:16-cv-81871-KAM Document 522-5 Entered on FLSD Docket 08/22/2019 Page 2 of 6


Heather Shatzel

From:                David George <dgeorge@4-justice.com>
Sent:                Wednesday, August 14, 2019 2:31 PM
To:                  Alaina Fotiu-Wojtowicz
Cc:                  Heather Shatzel; Annelise Abrams; Jana Coelho
Subject:             RE: Deposition Dates



Alaina,

Mr. Siamak Nia has requested to have his deposition taken on September 11, 2019 if that would work for your
schedule. We could then take your clients’ depositions on September 10th. Would that work for you?


Regards,

David

David J. George, Esq.
Managing Shareholder




George Gesten McDonald, PLLC
9897 Lake Worth Road, Suite #302
Lake Worth, Florida 33467
Telephone: (561) 232‐6002
Toll Free: (833) FIND JUSTICE (833) 346‐3587
Fax: (888) 421‐4173
Cell: (561) 383‐0927
DGeorge@4‐Justice.com




This e-mail message may contain confidential or legally privileged information and is intended only for the use of the
intended recipient(s). Any unauthorized disclosure, dissemination, distribution, copying or the taking of any action in
reliance on the information herein is prohibited. E-mails are not secure and cannot be guaranteed to be error free as they can
be intercepted, amended, or contain viruses. Anyone who communicates with us by e-mail is deemed to have accepted these
risks. George Gesten McDonald, PLLC is not responsible for errors or omissions in this message and denies any
responsibility for any damage arising from the use of e-mail. Any opinion and other statement contained in this message
and any attachment are solely those of the author and do not necessarily represent those of the company.



                                                              1
  Case 9:16-cv-81871-KAM Document 522-5 Entered on FLSD Docket 08/22/2019 Page 3 of 6

From: Alaina Fotiu‐Wojtowicz <alaina@bfwlegal.com>
Sent: Tuesday, August 13, 2019 7:15 PM
To: David George <dgeorge@4‐justice.com>
Cc: Heather Shatzel <heather@bfwlegal.com>; Annelise Abrams <annelise@bfwlegal.com>
Subject: RE: Deposition Dates

David:

I’m open on August 27, 29 and September 10. I’m on a 4‐week trial docket for a case that I expect to go to trial starting
September 17. I have a fair amount of availability during that time frame but I’d hate for your client to buy a ticket to
come here and us end up having to cancel. So I’d prefer to set this one on a date that we know works for everyone. Let
me know if those dates work for you and for Mr. Nia.

Sincerely,

Alaina Fotiu‐Wojtowicz, Esq.




200 SE 1st Street
Suite 400
Miami, Florida 33131
T. 305‐503‐5054
F. 786‐749‐7644
alaina@bfwlegal.com
www.bfwlegal.com

From: David George <dgeorge@4‐justice.com>
Sent: Tuesday, August 13, 2019 7:09 PM
To: Alaina Fotiu‐Wojtowicz <alaina@bfwlegal.com>
Cc: Heather Shatzel <heather@bfwlegal.com>; Annelise Abrams <annelise@bfwlegal.com>
Subject: Re: Deposition Dates

Ok I will get dates. Any preferences?

Regards,
David
David J. George, Esq.
Managing Shareholder
George Gesten McDonald, PLLC
9897 Lake Worth Road, Suite #302
Lake Worth, Florida 33467
Telephone: (561) 232‐6002
Toll Free: (888) 421‐4LAW (888‐421‐4529)
Fax: (888) 421‐4173
Cell: (561) 383‐0927
DGeorge@4‐Justice.com
This e‐mail message may contain confidential or legally privileged information and is intended only for the use of the
intended recipient(s). Any unauthorized disclosure, dissemination, distribution, copying or the taking of any action in
reliance on the information herein is prohibited. E‐mails are not secure and cannot be guaranteed to be error free as
they can be intercepted, amended, or contain viruses. Anyone who communicates with us by e‐mail is deemed to have

                                                            2
  Case 9:16-cv-81871-KAM Document 522-5 Entered on FLSD Docket 08/22/2019 Page 4 of 6

accepted these risks. George Gesten McDonald, PLLC is not responsible for errors or omissions in this message and
denies any responsibility for any damage arising from the use of e‐mail. Any opinion and other statement contained in
this message and any attachment are solely those of the author and do not necessarily represent those of the company.

From: Alaina Fotiu‐Wojtowicz <alaina@bfwlegal.com>
Sent: Tuesday, August 13, 2019 7:07:40 PM
To: David George <dgeorge@4‐justice.com>
Cc: Heather Shatzel <heather@bfwlegal.com>; Annelise Abrams <annelise@bfwlegal.com>
Subject: RE: Deposition Dates

David:

My client is going to present for deposition in South Florida, once scheduled. We would prefer to take both depositions
here rather than travel there for the depositions.

Sincerely,

Alaina Fotiu‐Wojtowicz, Esq.




200 SE 1st Street
Suite 400
Miami, Florida 33131
T. 305‐503‐5054
F. 786‐749‐7644
alaina@bfwlegal.com
www.bfwlegal.com

From: David George <dgeorge@4‐justice.com>
Sent: Monday, August 12, 2019 2:39 PM
To: Alaina Fotiu‐Wojtowicz <alaina@bfwlegal.com>
Cc: Heather Shatzel <heather@bfwlegal.com>; Annelise Abrams <annelise@bfwlegal.com>
Subject: RE: Deposition Dates

Alaina,

Yes I will get you some deposition dates. Since Mr. Herischi is in Maryland and Mr. Siamak Nia would be
coming from Maryland to WPB as well, and I would like to depose your client too, would you be willing to take
both depositions in Maryland on consecutive days?


Regards,

David

David J. George, Esq.
Managing Shareholder




                                                           3
  Case 9:16-cv-81871-KAM Document 522-5 Entered on FLSD Docket 08/22/2019 Page 5 of 6




George Gesten McDonald, PLLC
9897 Lake Worth Road, Suite #302
Lake Worth, Florida 33467
Telephone: (561) 232‐6002
Toll Free: (833) FIND JUSTICE (833) 346‐3587
Fax: (888) 421‐4173
Cell: (561) 383‐0927
DGeorge@4‐Justice.com




This e-mail message may contain confidential or legally privileged information and is intended only for the use of the
intended recipient(s). Any unauthorized disclosure, dissemination, distribution, copying or the taking of any action in
reliance on the information herein is prohibited. E-mails are not secure and cannot be guaranteed to be error free as they can
be intercepted, amended, or contain viruses. Anyone who communicates with us by e-mail is deemed to have accepted these
risks. George Gesten McDonald, PLLC is not responsible for errors or omissions in this message and denies any
responsibility for any damage arising from the use of e-mail. Any opinion and other statement contained in this message
and any attachment are solely those of the author and do not necessarily represent those of the company.

From: Alaina Fotiu‐Wojtowicz <alaina@bfwlegal.com>
Sent: Monday, August 12, 2019 2:32 PM
To: David George <dgeorge@4‐justice.com>
Cc: Heather Shatzel <heather@bfwlegal.com>; Annelise Abrams <annelise@bfwlegal.com>
Subject: Deposition Dates

David:

Can you get some dates that you and Mr. Siamak Nia are available for deposition in WPB. We can then clear with all
counsel and get it set. It’s my understanding also that he is fluent in English and will not require a translator. Please
confirm.

Sincerely,

Alaina Fotiu‐Wojtowicz, Esq.




200 SE 1st Street
Suite 400
Miami, Florida 33131
T. 305‐503‐5054
F. 786‐749‐7644
alaina@bfwlegal.com
                                                              4
  Case 9:16-cv-81871-KAM Document 522-5 Entered on FLSD Docket 08/22/2019 Page 6 of 6

www.bfwlegal.com




                                           5
